Case 1:07-cv-02433-CBA-RER Document 94-19 Filed 04/28/11 Page 1 of 4 PagelD #: 1092

EXHIBIT “P”
NOV 10. 2010 1:08PM ECFMG 215 387 9963 : NO. 852° Ph.

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK.
. xX
ANAND DASRATH, Case No.: CV 07-2433
(CBA) .

Plaintiff, (RER)
-against- .
CERTIFICATE OF AUTHENTICITY
ROSS UNIVERSITY SCHOOL OF MEDICINE, OF BUSINESS RECORDS

PURSUANT TO FEDERAL
Defendant. © RULE OF EVIDENCE 902(11)

Xx

 

L William C. Kelly, attest, under penalties of perjury under the laws of the United
States of America pursuant to 28 U.S.C. Section 1746 that the information contained in this
declaration is trus and correct, | am employed by the Educational Commission for Foreign
Medical Graduates (“ECFMG”), and my official title is Associate Vice President for Operations.
Tam a custodian of records for such business entity. I state that each of the records attached

hereto is a true and correct copy of an original record in the custody of ECFMG, and that I am

pages.

 

the custodian of the attached records consisting of _ 586
I further state that:
A. such records were kept in the course of a regularly conducted business
activity of ECFMG; and
B. any such records created by ECFMG were done so in the course of its

regular business activities.

iliam C. Kelly

 

Vi voerbec 7? wolo

Date
| EDUCATIONAL COMMISSION FOR | 3624 Market Street .
@EC FM c ; FOREIGN MEDICAL GRADUATES . Philadelphia PA 19104-2685 USA 7,
{ 215-386-5900 i 215-386-9767 Fax ,
| www.eefmg.org

~—

Personal and Confidential
Via Federal Express

October 9, 2009

Mr. Anand Emanuel Dasrath
89-25 209 St.
Queens Village, NY 11427

Re: USMLE®/ECFMG® Identification No. 0-704-162-7
Dear Mr. Dasrath:

On behalf of the Educational Commission for Foreign Medical Graduates
(ECFMG) Medical Education Credentials Committee, | am writing to inform you the
Committee has completed its review of the allegation you engaged in irregular behavior _
in connection with your failure to notify ECFMG of a change in your eligibility after you .
applied but before you took the United States Medical Licensing Examination® (USMLE)
Step 1 on July 27, 2006, and in your taking the USMLE Step 1 on July 27, 2006 when.
you were not eligible to take this examination. The ECFMG Committee reviewed this
matter at its October 1, 2009 meeting...

An advance of the review, the members of the Committee were provided with the
documents listed in my August 9, 2007, March 12, 2008, June 6, 2008 and August 13,
2009 letters. © oe

*

The ECFMG Committee considered .the documentation presented to it.
Following careful review, the ECFMG Committee determined that you had-engaged in
irregular behavior in connection with your failure to notify ECFMG of a change in your
eligibility after you applied but before you took the USMLE Step 1 on July 27, 2006, and
in- your taking the USMLE Step 1 on-July 27, 2006 when you were not eligible to take
this examination. The ECFMG Committee took action to bar you from admission to all
ECFMG examinations and from ECFMG Cattification for a yet ta be specified neried of
time, to refer this matter to the USMLE Committee on Irregular Behavior and Score
Validity, and to review this matter again after the USMLE Committee’s decision.

in accordance with ECFMG policies and procedures, a permanent annotation
that you engaged in irregular behavior will be included in your ECFMG record. This
_annotation shall appear on your ECFMG Certification Verification Service (CVS) Report
and.ECFMG Status Report. Additional information explaining the basis for the finding of
irregular behavior and the resulting action will accompany every ECFMG Status Report
and CVS Report and may also be provided fo legitimately interested entities. I{n
addition, ECFMG will report the determination of irregular behavior and bar from

ECFMG AED - 000198 ~

ECFMOG# is an organizauon comouned to promoiing excehaage gi tue naloual medial aducahion,
Case 1:07-cv-02433-CBA-RER Document 94-19 Filed 04/28/11 Page 4 of 4 PagelD #: 1095

Mr. Anand Emanuel Dasrath
October 9, 2009 ,
Page 2

admission to all ECFMG examinations and from ECFMG Certification to the Federation
of State Medical Boards, state medical licensing authorities, directors of graduate
medical education programs, and other interested entities.

As noted in the enclosed ECEMG Rules of Appellate Procedure, decisions of the
ECFMG Medical Education Credentials Committee may be appealed within the 60-day
time period specified.

_. If you have any. questions, please telephone me at (21 5). 823-2277 or e-mail me
at bkelly@ecfmg. org.

  

ilfiam C. Kelly
a Associate Vice President for Operations .
fwek | . a oe

_ Enclosure

cc: Bradley: M. Zelenitz, Esq. .

ECFMG AED - 000199
